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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                     CASE NO.: 1:08cr10-SPM

DIEGO CHOXJ CHA,

           Defendant.
_______________________________/

 ORDER GRANTING MOTION FOR WITNESS TO TESTIFY BY TELEPHONE

      This cause comes before the Court on Defendant Diego Choxj Cha’s

Motion to Permit Witness to Testify at Trial via Telephone or Video

Teleconferencing. Doc. 243. The Government objects on relevance grounds,

but does not object to the method of testimony by telephone or teleconference.

      The Court finds that the proposed testimony is relevant and would be

helpful to the jury. Furthermore, defense counsel has advised the Court that no

teleconference facilities are available to the witness, so the testimony would

come by telephone. Accordingly, it is

      ORDERED AND ADJUDGED:

      1.     Defendant’s motion (doc. 243) is granted.

      2.     The witness may testify by telephone.

      3.     Attorney Anderson E. Hatfield III is responsible for making the call

and shall coordinate the arrangement with the Court’s information technology
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support specialist, Jason Miller.

       DONE AND ORDERED this 20th day of May, 2009.



                                      s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge
